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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHER DISTRICT OF TEXAS
                                   HOUSTON DIVISION

BRYON PARFFREY                                  §
                                                §
v.                                              §        Civil Action No: 4:21-cv-03151
                                                §
PHH MORTGAGE CORPORATION                        §


                                   MOTION TO WITHDRAW


TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW Erick DeLaRue, counsel for Bryon Parffrey, filing this his Motion to

Withdraw and would respectfully show the Court as follows:

             1. Erick DeLaRue (“DeLaRue”) was retained by Plaintiff Bryon Parffrey

     (“Plaintiff”) prior to the filing of this action in the ongoing dispute over the subject matter of

     this suit which is the property commonly known as 2610 Tudor Manor, Houston, TX 77082.

     Prior to his retention, DeLaRue and Plaintiff discussed multiple goals that were desired from

     the filing of the lawsuit. Each one of those goals were met including, but not limited to,

     multiple settlement offers which were each rejected by Plaintiff. Now, there is a fundamental

     difference in how the litigation is to proceed which is causing problems between DeLaRue

     and Plaintiff.

             2. A bench trial is not scheduled until December 5, 2022; therefore, Plaintiff and

     Defendant will not be prejudiced by this withdrawal.

             3. Defendant’s counsel stated she was not opposed to the filing of this motion and

     has agreed to extend deadlines if and when Plaintiff obtains new counsel (if needed).

             4. Plaintiff is opposed to this filing of this motion.
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              5. This motion is not being sought for purposes of delay.

              6. DeLaRue has informed Plaintiff that this motion is being filed and a true and

   correct copy of the motion, as well as the order, have been mailed to Plaintiff on June 15,

   2022 to Plaintiff’s last known address which is the following:

                                        Bryon Parffrey
                                        2610 Tudor Manor
                                        Houston, TX 77082

                                           PRAYER

       WHEREFORE, PREMISES CONSIDERED, Erick DeLaRue respectfully request that the

Court enter the attached order GRANTING his Motion to Withdraw as the attorney of record in

the matter.



                                               Respectfully Submitted by,

                                                      Law Office of Erick DeLaRue, PLLC

                                                By:   _/s/ Erick DeLaRue
                                                      ERICK DELARUE
                                                       Texas Bar No: 24103505
                                                       2800 Post Oak Boulevard, Suite 4100
                                                       Houston, TX 77056
                                                       Telephone: 713-899-6727
                                                       Email: erick.delarue@delaruelaw.com
                                                      ATTORNEY FOR PLAINTIFF


                               CERTIFICATE OF CONFERENCE

       I hereby certify that a conference was had with Defendant’s counsel on June 14, 2021
regarding the filing of this motion and she is not opposed.

                                                      /s/ Erick DeLaRue
                                                        ERICK DELARUE
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                                 CERTIFICATE OF SERVICE

       I hereby certify that that a copy of the foregoing was sent to all counsel of record on this
      th
the 15 day of June, 2022 in accordance with the Federal Rules of Civil Procedure.

           Elizabeth Duffy
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           Bryon Parffrey
           2610 Tudor Manor
           Houston, TX 77082



                                                      /s/ Erick DeLaRue
                                                        ERICK DELARUE
